Case:19-10772-SDB Doc#:82 Filed:06/18/21 Entered:06/18/21 09:05:38 Page:1 of 10

United States Bankruptcy Court

SOUTHERN DISTRICT OF GEORGIA

In the matter of:

BENJAMIN LAMAR IVEY and

SHARON LOWE IVEY,
Chapter 13. Case No. 19-10772-SDB

Debtor(s)

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NOTICE OF MODIFICATION OF CHAPTER 13 PLAN AFTER CONFIRMATION

Pursuant to 11 U.S.C. § 1329, a proposed modification to the plan has been filed in this case, as shown on the
copy attached hereto.

This modification may result in a reduction of the dividend to unsecured creditors. Secured and priority
creditors may also be affected.

"Any holder of a secured claim that has accepted or rejected the plan is deemed to have accepted or rejected, as
the case may be, the plan as modified, unless the modification provided for a change in the rights of such holder
from what such rights were under the plan before modification, and such holder changes such holder's previous
acceptance or rejection.” 1] U.S. C. § 1323(c) (made applicable by § 1329(b)(1)).

If you have legal grounds to object to the modified plan, or if you wish the Court to consider your views on the
plan, you must file a written objection to the modified plan with the Clerk of the Bankruptcy Court before the
expiration of twenty-one (21) days from the date stated in the certificate of service, pursuant to Fed. R. Bankr.
P. 3015(h).

If you mail your objection to the court, you must mail it early enough so that it will be received within the
time referenced above. You must also send a copy of your objection to the Proponent(s) of the modification.
If a timely objection is filed, you will receive notice of the date, time and place of a hearing. If you or your
attorney do not take these steps, the Court will decide that you do not oppose the modified plan and will enter
an order confirming the plan as modified.

pae:__ulrglaoa Claw Anil

Johp P. Wills, Attorney {Sr Proponents of Modification
GA| Bar No: 767375

Wills Law Firm, LLC

P.q. Box 1620

Thdmson, GA 30824

706-595-8100

john@willslawfirmllc.com

Lucinda Rauback, Clerk
United States Bankruptcy Court
Southern District of Georgia

Revised 1/2/18
Case:19-10772-SDB Doc#:82 Filed:06/18/21 Entered:06/18/21 09:05:38 Page:2 of 10

UNITED STATES BANKRUPTCY COURT

Southern District of Georgia

Inre:) BENJAMIN LAMAR IVEY and Chapter 13
SHARON LOWE IVEY, Case No. 19-10772-SDB
Debtor(s).

MODIFICATION TO CHAPTER 13 PLAN AFTER CONFIRMATION

1. BENJAMIN LAMAR IVEY and SHARON LOWE IVEY, the Proponent(s) of the modification, file(s)
this motion to modify the plan confirmed previously in this case as follows:

a. Increase payments as follows:
b. Decrease payments as follows:

c. Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim
to the extent shown below upon confirmation of this proposed modification. The Proponent(s) request(s) that
upon confirmation of the plan, as modified, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral
only and that the stay under 11 U.S.C. § 1301 be terminated in all respects. Any allowed deficiency balance
resulting from a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph 4(h)
of the plan if the creditor amends its previously-filed, timely claim within 180 days from the entry of the order
confirming this proposed modification or by such additional time as the creditor may be granted upon motion
filed within that 180-day period.

CREDITOR DESCRIPTION OF COLLATERAL AMOUNT OF CLAIM SATISFIED

d. Other Provisions:
(1) Plan payments extended to a maximum period of 84 months.
(2) Beginning with their 2021 returns and continuing through the remaining term of this case,
Debtors agree to provide their annual income tax returns to the Trustee within 15 days of the filing
deadline of such returns or any valid extensions thereto.

2. Proponent(s) assert(s) as the basis for the modification the following facts: The Debtors are experiencing
or have experienced a material financial hardship due, directly or indirectly, to the Coronavirus
Disease 2019 (COVID-19) pandemic, and this modification is proposed pursuant to 11 U.S.C. Section
1329(d)(1) and (2).

3. Except as provided herein, all terms of the plan as previously confirmed remain in full force and effect.

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Date Prop6ne pOnent 1

Revised 12/1/2017 Form 2017-4-B
Case:19-10772-SDB Doc#:82 Filed:06/18/21 Entered:06/18/21 09:05:38 Page:3 of 10

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Proponent 2

Revised 12/1/2017 Form 2017-4-B
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CERTIFICATE OF SERVICE
This is to certify that I, John P. Wills, have this day served a true and correct copy of the
within and foregoing “NOTICE OF MODIFICATION OF CHAPTER 13 PLAN AFTER
CONFIRMATION” and “MODIFICATION TO CHAPTER 13 PLAN AFTER CONFIRMATION”
upon the following:

VIA CM/ECF ELECTRONIC TRANSMISSION TO THE FOLLOWING PARTIES:

Huon Le
Chapter 13 Trustee

Office of the U.S. Trustee
VIA UNITED STATES MAIL, POSTAGE PREPAID, TO THE FOLLOWING PARTIES:

SEE ATTACHED EXHIBIT “A”

This the \3e day of June, 2021.

   

Oo . ls
Attorney for Debtors
WILLS LAW FIRM, LLC
P.O. Box 1620
Thomson, GA 30824
(706) 595-8100
Case:19-10772-SDB
Label Matrix for local noticing
1139-1
Case 19-10772-SDB
Southern District of Georgia
Augusta
Mon Jun 14 21:49:59 EDT 2021

1st Franklin Financial Corporation
Attn: Administrative Services

P.O. Box 880

Toccoa, GA 30577-0880

AFNI, INC

1310 MARTIN LUTHER KING DRIVE
P.O, BOX 3517

BLOOMINGTON IL 61702-3517

ALLTEL
1001 TECHNOLOGY DRIVE
LITTLE ROCK AR 72223-5943

AMERICAN INFOSOURCE, LP
P.0. BOX 248838
OKLAHOMA CITY OK 73124-8838

AT&T Mobility II LLC

‘AT&T SERVICES INC.

KAREN A. CAVAGNARO PARALEGAL
ONE AT&T WAY, SUITE 3A104
BEDMINSTER, NJ. 07921-2693

AVON PRODUCTS
C/O SUNRISE CREDIT SERVICES, INC.
260 AIRPORT PLAZA, P.O. BOX 9100
FARMINGDALE NY 11735-9100

BANK OF AMERICA
CORPORATE CENTER
100 NORTH TRYON STREET
CHARLOTTE NC 28255-0001

BENEFICIAL NATIONAL BANK
200 SOMERSE CORP. BLVD
BRIDGEWATER NJ 08807-2862

CADENCE BANK, FORMERLY STATE BANK,
FORMERLY FIRST BANK OF GEORGIA
110 HILL STREET

THOMSON GA 30824-2928

1ST FRANKLIN FINANCIAL CORPORATION
ATIN: OFFICER OR AGENT

P.O. BOX 1409

THOMSON GA 30824-1409

21ST CENTURY INSURANCE
C/O TRUE NORTH AR

700 Longwater Drive
Norwell, MA 02061-1624

ALLIED INTERSTATE

435 FORD ROAD

SUITE 800

MINNEAPOLIS MN 55426-1066

ALLTEL

BANKRUPTCY DEPT 1269 BSF03-B
1 ALLIED DR.

LITTLE ROCK AR 72202-2065

AMERICAN INFOSOURCE, LP
P.O. BOX 51178
LOS ANGELES CA 90051-5478

AUTOMOTIVE CREDIT ACCEPTANCE, INC.
204 MARTIN LUTHER KING JR. BLVD
ELBERTON GA 30635-1523

Ashley Funding Services, LLC
Resurgent Capital Services
PO Box 10587

Greenville, SC 29603-0587

(p) BANK OF AMERICA
PO BOX 982238
EL PASO TX 79998-2238

BENEFICIAL NATIONAL BANK
301 N. WALNUT STREET
WILMINGTON DE 19801-4050

(p)CAINE & WEINER COMPANY
12005 FORD ROAD 300
DALLAS TX 75234-7262

Doc#:82 Filed:06/18/21 Entered:06/18/21 09:05:38 Page:5 of 10
(p) 1ST FRANKLIN FINANCIAL CORPORATION

PO BOX 880
TOCCOA GA 30577-0880

AARON'S, INC.

ATTN: BANKRUPTCY DEPT
P.O. BOX 100039
KENNESAW GA 30156-9239

ALLIED INTERSTATE
P.O. Box 19312
Minneapolis, MN 55419-0312

AMERICAN INFOSOURCE, LP
ATTN: DEPARTMENT 1

P.O. BOX 4457

HOUSTON TX 77210-4457

AT&T BANKRUPTCY CENTER
P.O. BOX 769
ARLINGTON TX 76004-0769

AVON PRODUCTS
425 HORIZON DRIVE
SUWANEE GA 30024-3105

(p) ATLAS ACQUISITIONS LCC
492C CEDAR LANE SUITE 442
TEANECK NJ 07666-1713

BELLSOUTH TELECOMMUNICATIONS, INC.

AT&T SERVICES, INC.
ONE AT&T WAY, ROOM 3A104
BEDMINSTER NJ 07921-2694

Benjamin Lamar Ivey
Sharon Lowe Ivey

606 Arnall Street
Thomson GA 30824-3031

CALIFORNIA SERVICE BUREAU/
TRUE NORTH AR

100 WOOD HOLLOW DRIVE 200
NOVATO CA 94945-1204

LISIHX3

a
Case:19-10772-SDB
CAPITAL ONE BANK (USA), N.A.
P.O. BOX 71083
CHARLOTTE NC 28272-1083

(c) COMCAST
405 TOPGOLF WAY
AUGUSTA GA 30909-0084

COVINGTON CREDIT OF GEORGIA, INC.

ATIN: CT CORPORATION, REGISTERED AGENT
289 §. CULVER STREET

LAWRENCEVILLE GA 30046-4805

CREDIT ONE BANK
P.0. BOX 98873
LAS VEGAS NV 89193-8873

DR. WILLIAMS
120 GORDON STREET
WASHINGTON GA 30673-1602

EDWARDS LOAN CO., WASHINGTON, LLC

ATTN: JAMES A, WALTERS, REGISTERED AGENT
718 GREEN STREET

GAINESVILLE GA 30501-3322

(p) FARMERS FURNITURE

ATIN CORPORATE CREDIT DEPT
PO BOX 1140

DUBLIN GA 31040-1140

FIRST PREMIER BANK
P.O. BOX 5524
SIOUX FALLS SD 57117-5524

(p)GEORGIA DEPARTMENT OF REVENUE
COMPLIANCE DIVISION

ARCS BANKRUPTCY

1800 CENTURY BLVD NE SUITE 9100
ATLANTA GA 30345-3202

HICKORY HILL EMERGENCY PHYSICIANS, LLC
1A BURTON HILLS BLVD
NASHVILLE TN 37215-6187

CAVALRY PORTFOLIO SERVICES
500 SUMMIT LAKE DRIVE
SUITE 400

VALHALLA NY 10595-2322

COMMONWEALTH FINANCIAL SYSTEMS
245 MAIN STREET
DICKSON CITY PA 18519-1641

CREDIT MANAGEMENT LP
4200 INTERNATIONAL PKWY
CARROLLTON TX 75007-1912

(p) DIRECTV LLC

ATIN BANKRUPTCIES

PO BOX 6550

GREENWOOD VILLAGE CO 80155-6550

DRIVESTAR FINANCIAL II, INC. d/b/a CNAC
1285 CASSAT AVENUE
JACKSONVILLE FL 32205-7083

EMERGENCY COVERAGE CORPORATION
P.O. BOX 740023
CINCINNATI OB 45274-0023

FINGEREUT /WEBBANK
6250 RIDGEWOOD ROAD
SAINT CLOUD MN 56303-0820

FIRST-CITIZENS BANK & TRUST COMPANY
P.O. BOX 27131
RALEIGH NC 27611-7131

GEORGIA POWER COMPANY
2500 PATRICK HENRY PARKWAY
BIN # 80002

MCDONOUGH GA 30253-4298

HSBC
P.O. BOX 5253
CAROL STREAM IL 60197-5253

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CNAC
1801 GORDON HIGHWAY
AUGUSTA GA 30904-5636

(p) SOUTHERN MANAGEMENT
PO BOX 1947
GREENVILLE SC 29602-1947

CREDIT MANAGEMENT, LP
6080 TENNYSON PARKWAY
SUITE 100

PLANO TX 75024-6002

DJ ORTHOPEDICS, LLC

C/O AARGON AGENCY

8668 SPRING MOUNTAIN ROAD
LAS VEGAS NV 89117-4132

EDWARDS LOAN CO., WASHINGTON, LLC
ATTN: OFFICER OR AGENT

33 E. ROBERT TOOMBS AVENUE
WASHINGTON GA 30673-1735

EXCEL LOCAL/LONG DISTANCE

C/O MIDLAND CREDIT MANAGEMENT
8875 AERO DRIVE, SUITE 200
SAN DIEGO CA 92123-2255

FIRST OF THOMSON, INC.
139 MAIN STREET
THOMSON GA 30824-2615

First of Thomson
203 Main Street
Thomson, Ga 30824-2616

GEORGIA POWER COMPANY
96 ANNEX
ATLANTA GA 30396-0002

HSBC TAXPAYER FINANCIAL SERVICES
90 CHRISTIANA ROAD
NEW CASTLE DE 19720-3118
Case:19-10772-SDB

HSBC/TAX
P.O, BOX 15524
WILMINGTON DE 19850

Sharok Bowe Ivey
606 1 Street
Thomsqh, Bj 30824-3031

(duplicate)

John. ls

Wills Firm, LLC
318 Jacif§on Street
P.O. B 0

Thomson, GA 30824-5620

LVKV FUNDING, LLC

C/O RESURGENT CAPITAL SERVICES
P.O. BOX 1269

GREENVILLE SC 29602-1269

MERCHANTS ADJUSTMENT SERVICE
P.O. BOX 7511
MOBILE AL 36670-0511

MOTORS ACCEPTANCE CORP.
P.0. BOX 468
COLUMBUS GA 31902-0468

NCO FIN/99
P.O, BOX 15636
WILMINGTON DE 19850-5636

NCO FINANCIAL SYSTEMS, INC.
P.O. BOX 41466
PHILADELPHIA PA 19101

OTIS HEATH
3483 ELAM CHURCH ROAD
NORWOOD GA 30821-7905

PREMIER BANKCARD/CHARTER
P.O. BOX 2208
VACAVILLE CA 95696-8208

Doc#:82 Filed:06/18/21 Entered:06/18/21 09: OS:

INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA PA 19101-7346

JOSEPH STEPHENS
PO BOX 1661
THOMSON GA 30824-5661

LAHR ENTERPRISES, LLC DBA WILKES LOAN
ATTN: ROBIN LAHR, REGISTERED AGENT

20 W. ROBERT TOOMBS AVENUE
WASHINGTON GA 30673-1662

Huon
P.O. 2127
Augtsta,¥GA 30903-2127

(via emecr)

MIDLAND CREDIT MANAGEMENT
2365 NORTHSIDE DRIVE
SUITE 300

SAN DIEGO CA 92108-2709

NATIONWIDE INSURANCE

C/O CREDIT COLLECTION SERVICES
P.O, BOX 607

NORWOOD MA 02062-0607

NCO FINANCIAL
B.O. BOX 41448
PHILADELPHIA PA 19101

NORTH AMERICAN CREDIT SERVICES
P.O. BOX 182221
CHATTANOOGA TN 37422-7221

  
    
  
  
 

Office
Johnson

e U. §. Trustee
are Business Center
2 East B treet, Ste 725
Savannah, GA 3401-2638

(via conlect|

PROTECT AMERICA, INC.

C/O ANDERSON CRENSHAW ASSOC.
12801 N. CENTRAL EXPWY
DALLAS TX 75243-1716

Page:7 of 10

  

(p) JEFFERSON CAPITAL SYSTEMS LLC
PO BOX 7999
SAINT CLOUD MN 56302-7999

LANIER COLLECTION AGENCY
P.O. BOX 15519
SAVANNAH GA 31416-2219

MERCHANTS & MEDICAL ADJUST
321 MAIN STREET S.
TIFTON GA 31794-4897

MIDLAND FUNDING LLC
2365 NORTHSIDE DRIVE
SUITE 300

SAN DIEGO CA 92108-2709

NCEP, LLC
C/O QUANTUM3 GROUP
P.O. BOX 788

KIRKLAND WA 98083-0788

NCO FINANCIAL SERVICES
P.O. BOX 15391
WILMINGTON DE 19850-5391

OKINUS, INC.
157 WEST RAILROAD STREET
PELHAM GA 31779-1631

(p} PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOX 41067
NORFOLK VA 23541-1067

Premier Bankcard, Lle

Jefferson Capital Systems LLC Assignee
Po Box 7999

Saint Cloud Mn 56302-7999
Case:19-10772-SDB
Quantum3 Group LLC as agent for
CF Medical LLC
PO Box 788
Kirkland, WA 98083-0788

REGIONS BANK

CONSUMER COLLECTIONS
P.O. BOX 10063
BIRMINGHAM AL 35202-0063

SCANA ENERGY MARKETING
3340 PEACHTREE ROAD NE
SUITE 2150

ATLANTA GA 30326-1000

SECURITY FINANCE OF GEORGIA, LLC, ATTN:
C T CORPORATION SYSTEM, REGISTERED AGENT
289 S$. CULVER STREET

LAWRENCEVILLE GA 30046-4805

(p) SPRINT

C 0 AMERICAN INFOSOURCE
4515 N SANTA FE AVE
OKLAHOMA CITY OK 73118-7901

STELLAR RECOVERY, INC.
1845 U.S. HIGHWAY $3 S.
KALISPELL MT 59901-5710

SUNCOM WIRELESS

C/O MILLENNIUM FINANCIAL GROUP
5770 NW EXPRESSWAY, SUITE 102
OKLAHOMA CITY OK 73132-5238

THE BANK OF MISSOURI
216 WEST 2ND STREET
DIXON MO 65459-8048

THE CBE GROUP, INC.
P.O. BOX 126
WATERLOO IA 50704-0126

TURNER MOTOR COMPANY, INC,
204 MARTIN LUTHER KING, JR. BLVD
ELBERTON GA 30635-1523

Quantum3 Group LLC as agent for
NCEP LLC

PO Box 788,

Kirkland, WA 98083-0788

RESURGENT CAPITAL SERVICES
P.O. BOX 10587
GREENVILLE SC 29603-0587

SECURITY FINANCE OF GEORGIA, LLC
ATIN: OFFICER OR AGENT

29 E,. ROBERT TOOMBS AVENUE
WASHINGTON GA 30673-1735

SOUTH STATE BANK
520 GERVAIS STREET
COLUMBIA SC 29201-3071

(p) SRP FEDERAL CREDIT UNION
PO BOX 6730
NORTH AUGUSTA SC 29861-6730

SUNCOM WIRELESS

C/O ADVANCED RECOVERY SYSTEM
$01 E, 8TH AVENUE, SUITE 206
KING OF PRUSSIA PA 19406-1354

SUNCOM WIRELESS

C/O Millennium Financial Group LLC
3000 United Founders Blvd

Ste 219

Oklahoma City, OK 73112-3904

THE BANK OF MISSOURI/TOTAL CREDIT
5109 §. BROADBAND LANE
SIOUX FALLS SD 57108-2208

THE PROGRESSIVE CORPORATION
6300 WILSON MILLS ROAD
MAYFIELD VILLAGE OH 44143-2182

(p) UNIVERSITY HEALTH SERVICES INC
ATIN COLLECTIONS DIVISION

620 THIRTEENTH ST

AUGUSTA GA 30901-1008

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RAND CONFER, MD
C/O LANIER COLLECTION AGENCY
P.O, BOX 15519

SAVANNAH GA 31416-2219

SANTANDER CONSUMER USA INC.
P.O, BOX 560284
DALLAS TX 75356-0284

SECURITY FINANCE OF GEORGIA, LLC
ATIN: OFFICER OR AGENT

P.O. BOX 1893

SPARTANBURG SC 29304-1893

SOUTH STATE BANK

FORMERLY GEORGIA BANK & TRUST
P.O. BOX 15367

AUGUSTA GA 30919-5367

STELLAR RECOVERY, INC.
1327 HIGHWAY 2 W.

SUITE 100

KALISPELL MT 59901-3531

SUNCOM WIRELESS

C/O LAR, INC.

56 MAIN STREET
HAMBURG NY 14075-4905

SUNTRUST BANK
ATTN: SUPPORT SERVICES
P.O. BOX 85092
RICHMOND VA 23286-0001

THE CBE GROUP, INC

131 TOWER PARK DRIVE, SUITE 100
P.O. BOX 900

WATERLOO IA 50704-0900

THOMSON ORTHOPEDICS & SPORTS MEDICINE PC
P.O. BOX 720
THOMSON GA 30824-0720

UNIVERSITY HOSPITAL MCDUFFIE
2460 WASHINGTON ROAD
THOMSON GA 30824-6600
Case:19-10772-SDB

UNIVERSITY HOSPITAL MCDUFFIE
P.O. BOX 1228
AUGUSTA GA 30903-1228

United States Attorney
P.O, Box 2017
Augusta GA 30903-2017

W. S. BADCOCK CORPORATION, ATIN: C T
CORPORATION SYSTEM, REGISTERED AGENT
289 8. CULVER STREET

LAWRENCEVILLE GA 30046-4805

WASHINGTON WILKES ER PHYSICIANS
P.O. BOX 42475
PHILADELPHIA PA 19101-2475

WELLS FARGO BANK
OVERDRAFT RECOVERY
P.O. BOX 50014
ROANOKE VA 24040-5014

WILLS MEMORTAL HOSPITAL
120 GORDON STREET
WASHINGTON GA 30673-1602

WORLD FINANCE CORPORATION OF GEORGIA
ATTN: CT CORPORATION, REGISTERED AGENT
289 §. CULVER STREET

LAWRENCEVILLE GA 30046-4805

UNIVERSITY MCDUFFIE CO. REGIONAL
MEDICAL CTR. INC.

620 13TH STREET

AUGUSTA GA 30901-1008

VERIZON WIRELESS
3 VERIZON PL
ALPHARETTA GA 30004-8510

W.S.Badcock Corporation
Post Office Box 724
Mulberry, FL 33860-0724

WATSON & KNOX

RENTAL DIVISION

203 MAIN STREET
THOMSON GA 30824-2616

WELLS FARGO BANK

P.O, BOX 5058

MAC 96053-021
PORTLAND OR 97208-5058

WORLD FINANCE CORPORATION OF GEORGIA
ATTN: OFFICER OR AGENT

406 MAIN STREET

THOMSON GA 30824-1575

 

JohRyP ff Wills

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URGENT MD
3686 WHEELER ROAD
AUGUSTA GA 30909-6520

W. S. BADCOCK CORPORATION
ATTN: OFFICER OR AGENT
P.O. BOX 724

MULBERRY FL 33860-0724

WASHINGTON EMC

C/O CBA OF GEORGIA

P.O, BOX 579

MILLEDGEVILLE GA 31059-0579

WELLS FARGO BANK
420 MONTGOMERY STREET
SAN FRANCISCO CA 94104-1298

WEST ASSET MANAGEMENT
7171 MERCY ROAD
OMAHA NE 68106-2620

WORLD FINANCE CORPORATION OF GEORGIA
ATTN: OFFICER OR AGENT

P.O. BOX 6429

GREENVILLE SC 29606-6429

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g} (4).

1ST FRANKLIN FINANCIAL CORPORATION
ATIN: BEN CHEEK, III, REGISTERED AGENT
135 EAST TUGALO STREET

TOCCOA GA 30577

BANK OF AMERICA
P.O. BOX 982238
EL PASO TX 79998

Atlas Acquisitions LLC
492C Cedar Lane, Ste 442
Teaneck, NU 07666

CAINE & WEINER
P.O. BOX 55848
SHERMAN OAKS CA 91413

(d)Atlas Acquisitions LLC
492C Cedar Lane, Ste 442
Teaneck, NJ 07666

(d) CAVALRY PORTFOLIO SERVICES
P.O, BOX 27288
TEMPE AZ 65285
Case:19-10772-SDB

COVINGTON CREDIT GA0002
c/o SOUTHERN MANAGEMENT
ATTN BK

P.O. BOX 1947
GREENVILLE, SC 29602

DIRECTV
P.O. BOX 6550
GREENWOOD VILLAGE CO 80155

(d) FARMERS FURNITURE
ATTN: OFFICER OR AGENT

1012 E, ROBERT TOOMBS AVENUE
WASHINGTON GA 30673

PORTFOLIO RECOVERY ASSOCIATES, LLC
P.O. BOX 41067
NORFOLK VA 23541-1067

SPRINT NEXTEL CORPORATION
ATTN: BANKRUPTCY DEPT

P. 0, BOX 7949

OVERLAND PARK KS 66207-0949

UNIVERSITY HEALTH SERVICES
620 13TH STREET
AUGUSTA GA 30901

(d) COVINGTON CREDIT OF GEORGIA, INC.
ATTN: OFFICER OR AGENT

1257 WASHINGTON ROAD

THOMSON GA 30824

(d) DIRECTV
P.O. BOX 6550
GREENWOOD VILLAGE CO 80155-6550

GEORGIA DEPARTMENT OF REVENUE
COMPLIANCE DIVISION; ARCS BANKRUPTCY
1800 CENTURY BLVD, NE, SUITE 9100
ATLANTA GA 30345-3202

(d)Portfolio Recovery Associates, LLC
c/o Capital One

POB 41067

Norfolk VA 23541

SRP FEDERAL CREDIT UNION
P.O. BOX 6730
NORTH AUGUSTA SC 29861

(d) WAREHOUSE HOME FURNISHINGS DISTRIBUTORS,

INC., ATTN; ELLEN SUMNER, REG. AGENT
1851 TELFAIR STREET
DUBLIN GA 31021

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(d) COVINGTON CREDIT OF GEORGIA, INC.
ATTN: OFFICER OR AGENT

P.O. BOX 1947

GREENVILLE SC 29602-1947

FARMERS FURNITURE

ATTN: OFFICER OR AGENT
P.O, BOX 1140

DUBLIN GA 31040-1140

Jefferson Capital Systems LLC
Po Box 7999
Saint Cloud Mn 56302-9617

(d)Portfolio Recovery Associates, LLC
c/o Capital One/Hsbe

POB 41067

Norfolk VA 23541

(d) SRP Federal Credit Union
Attn: Special Assets Dept
PO Box 6730

North Augusta, SC 29861

Addresses marked (c) above for the following entity/entities were corrected

COMCAST
105 RIVER SHOALS PKWY
AUGUSTA GA 30909

as required by the USPS Locatable Address Conversion System (LACS).

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(d) Joseph Stephens
P. 0. Box 1661
Thomson, GA 30824-5661

End of Label Matrix

Mailable recipients 139
Bypassed recipients 1
Total 140
